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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


KELLY WAGGONER and DARBEY                            Case No.: 5:14-cv-1626-SL
SCHULTZ, on behalf of themselves and all
others similarly situated,                           Judge Sara Lioi

               Plaintiff,                            Magistrate Judge Kathleen B. Burke

       v.

U.S. BANCORP, a foreign corporation, and
U.S. BANK NATIONAL ASSOCIATION, a
foreign corporation,

               Defendants.


                      DEFENDANTS’ MOTION FOR ADMISSION OF
                         EMILY C. SCHUMAN PRO HAC VICE

       Defendants U.S. Bancorp and U.S. Bank National Association (collectively “U.S. Bank”)

move this Court to admit Emily C. Schuman of the law firm of Winston & Strawn LLP, pro hac

vice, so that she may serve as co-counsel for U.S. Bank in this matter. In accordance with Local

Rule 83.5(h) U.S. Bank states as follows:

       1.      Ms. Schuman is an active member in good standing of the Bar of the State of

California, without any restriction on her eligibility to practice. Ms. Schuman is admitted to

practice before the Supreme Court of California and has been a member in good standing since

she was first admitted to practice law in California in December 2010. Ms. Schuman’s

California bar registration number is 271915.
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       2.         Ms. Schuman’s address, telephone number, facsimile number, and e-mail address

are as follows:

                                101 California Street
                                San Francisco, California 94111
                                Telephone: (415) 591-1000
                                Facsimile: (415) 591-1400
                                E-mail: eschuman@winston.com


       3.         Ms. Schuman has never been disbarred, suspended, or otherwise reprimanded by

the bar of any state or of any other jurisdiction.

       4.         The declaration of Ms. Schuman in support of this Motion for Admission Pro Hac

Vice is attached as Exhibit A pursuant to Local Rule 83.5(h).

       5.         The pro hac vice admission fee is being paid contemporaneously with the filing of

this motion.

       U.S. Bank, therefore, respectfully requests that this Court permit Emily C. Schuman of

the law firm of Winston & Strawn LLP, to appear on its behalf in this proceeding pro hac vice.


   Date: September 29, 2014                          Respectfully submitted,

                                                     /s/ Michael J. Zbiegien, Jr.
                                                     David H. Wallace (0037210)
                                                     Michael J. Zbiegien, Jr. (0078352)
                                                     Taft Stettinius & Hollister LLP
                                                     200 Public Square, Suite 3500
                                                     Cleveland, Ohio 44114-2302
                                                     Tel: (216) 241-2838
                                                     Fax: (216) 241-3707
                                                     Email: dwallace@taftlaw.com
                                                            mzbiegien@taftlaw.com

                                                     Attorneys for Defendant
                                                     U.S. Bancorp and U.S. Bank National
                                                     Association




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                                  CERTIFICATE OF SERVICE

        The foregoing was filed through the Court’s electronic filing system this September 29,

2014. Notice of this filing will be sent to all parties listed on the Court’s electronic filing system.

Parties may access this filing through the Court’s system.


                                               /s/ _Michael J. Zbiegien, Jr.
                                               Michael J. Zbiegien, Jr.




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